Case 1:18-cv-03713-TWP-MJD Document 29 Filed 12/05/18 Page 1 of 4 PageID #: 573



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 JOHN DOE,                                            )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )       No. 1:18-cv-03713-TWP-MJD
                                                      )
 INDIANA UNIVERSITY - BLOOMINGTON,                    )
                                                      )
                              Defendant.              )



                              SCHEDULING ORDER
                    HON. MAGISTRATE JUDGE MARK J. DINSMORE


        This matter is before the Court on Plaintiff’s Verified Motion for Preliminary Injunction.

 [Dkt. 4.] The Court establishes the following schedule to prepare this matter for a hearing on

 that motion:

        1. Discovery shall commence immediately.

        2. The parties shall serve requests for production, along with any interrogatories or

 requests for admissions, focused upon the issues to be addressed during the preliminary

 injunction hearing, by no later than December 7, 2018. The parties shall serve any objections to

 such requests on or before December 10, 2018 and (subject to such objections until resolved)

 shall fully respond to such discovery requests on or before December 14, 2018, to include the

 production of any documents requested and the logging of any privileged or other documents

 withheld.




                                                 1
Case 1:18-cv-03713-TWP-MJD Document 29 Filed 12/05/18 Page 2 of 4 PageID #: 574



        3. All discovery requests and responses pursuant to this order shall be served by either

 hand delivery or by electronic means with telephonic confirmation of receipt on or before the

 date due.

        4. On or before December 7, 2018, the parties shall file a list of the witnesses whose

 testimony that party would intend to offer at the preliminary injunction hearing; the parties shall

 supplement such lists on or before December 17, 2018.

        5. On or before December 7, 2018, each party shall file a list of the exhibits intended to

 be offered at the preliminary injunction hearing, and shall provide copies of all exhibits listed to

 opposing counsel by that date. On or before December 17, 2018, each party shall file an updated

 list of the exhibits intended to be offered at the preliminary injunction hearing, and shall provide

 copies of all exhibits listed to opposing counsel by that date.

        6. Except as set forth in paragraph 7 below, each party may conduct no more than three

 depositions in preparation for the hearing on the motion for preliminary injunction. Each such

 deposition shall last no more than three hours. All such depositions shall be completed on or

 before December 28, 2018. The parties shall work together to ensure the scheduling of the

 depositions in compliance with this order.

        7. On or before December 18, 2018, the parties shall exchange fully executed copies of

 any affidavits the parties expect to submit as part of their evidentiary submission in this matter.

 Notwithstanding the limitation set forth in paragraph 6 above, each party may depose any

 individual whose affidavit is disclosed pursuant to this paragraph. Each such deposition shall last

 no more than two hours (unless the deponent is one of the three designated pursuant to paragraph

 6, in which event the deposition may last no more than three hours). All such depositions shall be




                                                   2
Case 1:18-cv-03713-TWP-MJD Document 29 Filed 12/05/18 Page 3 of 4 PageID #: 575



 completed on or before December 28, 2018. The parties shall work together to ensure the

 scheduling of the depositions in compliance with this order.

        8. The Court does not anticipate any live testimony at the hearing. Rather, on or before

 January 3, 2019, the parties shall file their evidentiary submission comprised of affidavits,

 deposition transcripts, and documentary exhibits. No witnesses or exhibits may be offered that

 were not disclosed in the December 17, 2018 supplemental exhibit and witness lists.

        9. On or before January 4, 2019, the parties shall file pre-hearing briefs articulating the

 parties’ arguments with specific citations to the factual record on file. Each side’s brief is limited

 to no more than twenty pages.

        10. Unless otherwise agreed by the parties or ordered by the Court, all electronically

 stored information will be produced in its native format.

        11. In the event that a document protected by the attorney-client privilege, the attorney

 work product doctrine or other applicable privilege or protection is unintentionally produced by

 any party to this proceeding, the producing party may request that the document be returned. In

 the event that such a request is made, all parties to the litigation and their counsel shall promptly

 return all copies of the document in their possession, custody, or control to the producing party

 and shall not retain or make any copies of the document or any documents derived from such

 document. The producing party shall promptly identify the returned document on a privilege log.

 The unintentional disclosure of a privileged or otherwise protected document shall not constitute

 a waiver of the privilege or protection with respect to that document or any other documents

 involving the same or similar subject matter.

        12. If the required conference under Local Rule 37-1 does not resolve discovery issues

 that may arise, the parties will request a telephonic status conference with the Magistrate Judge



                                                   3
Case 1:18-cv-03713-TWP-MJD Document 29 Filed 12/05/18 Page 4 of 4 PageID #: 576



 prior to filing any disputed motion to compel or for a protective order. This paragraph does not

 apply to any nonparty discovery served.

        Further instructions regarding the preliminary injunction hearing will be provided by

 separate order.

        SO ORDERED.



        Dated: 5 DEC 2018




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 Service will be made electronically
 on all ECF-registered counsel of record via
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